  Case 19-23195-RG            Doc 5    Filed 07/10/19 Entered 07/11/19 01:01:14                     Desc Imaged
                                      Certificate of Notice Page 1 of 2
Form osc170 − osc170v27

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 19−23195−RG
                                         Chapter: 7
                                         Judge: Rosemary Gambardella

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Joseph Bertuglia
   341 Pleasant Grove Rd.
   Long Valley, NJ 07853
Social Security No.:
   xxx−xx−0934
Employer's Tax I.D. No.:


                              NOTICE OF HEARING ON DISMISSAL OF CASE

An Order to Show Cause Why the Case Should Not Be Dismissed concerning the issue highlighted below has been
entered by the Court.

              The debtor(s) has not complied with the credit counseling requirements of the Bankruptcy Code.

              The corporate debtor does not have an attorney

          Notice is hereby given that a hearing will be held before the Honorable Rosemary Gambardella on:

    Date: July 29, 2019
    Time: 10:00 AM
    Location: Courtroom 3E, Martin Luther King, Jr. Federal Building, 50 Walnut Street, 3rd Floor, Newark, NJ
07102




Dated: July 8, 2019
JAN: dmc

                                              Rosemary Gambardella
                                              United States Bankruptcy Judge
        Case 19-23195-RG               Doc 5     Filed 07/10/19 Entered 07/11/19 01:01:14                          Desc Imaged
                                                Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-23195-RG
Joseph Bertuglia                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Jul 08, 2019
                                      Form ID: osc170                    Total Noticed: 21

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 10, 2019.
db             +Joseph Bertuglia,    341 Pleasant Grove Rd.,    Long Valley, NJ 07853-3639
518340645      +Audatex,    7701 Las Colinas Ridge,    Suite 500,   Irving, TX 75063-7553
518340646      +Barclay’s Card,    745 7th Ave.,    New York, NY 10019-6801
518340649      +Chase Card,    270 Park Ave.,    New York, NY 10017-2070
518340651       Dex Media,    2200 West Airfield Drive,    Dallas, TX 75261
518340652      +FedLoan,    PO Box 69184,   Harrisburg, PA 17106-9184
518340654      +Home Depot,    PO Box 9001010,    Louisville, KY 40290-1010
518340655      +Meenan Oil Co., LP d/b/a Region Oil Inc.,     1000 Woodbury Road,    Suite 200,
                 Woodbury, NY 11797-2530
518340659      +Region Oil/Meenan Oil,    6851 jericho Tpke, Suite 220,     Syosset, NY 11791-4449
518340660      +Solar City/TESLA,    3055 Clearview Way,    San Mateo, CA 94402-3709

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Jul 09 2019 01:30:29       U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Jul 09 2019 01:30:22       United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,    One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
cr             +E-mail/PDF: gecsedi@recoverycorp.com Jul 09 2019 01:34:18
                 Synchrony Bank c/o PRA Receivables Management, LLC,    PO BOX 41021,    Norfolk, VA 23541-1021
518340647      +E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Jul 09 2019 01:34:45       Capital One,
                 1680 Capital One Drive,   McLean, VA 22102-3407
518340648      +E-mail/PDF: gecsedi@recoverycorp.com Jul 09 2019 01:33:58       Care Credit/Synchrony Bank,
                 P.O. Box 96061,   Orlando, FL 32896-0001
518340650      +E-mail/Text: ctcdupecust@cornwelltools.com Jul 09 2019 01:29:55       Cornwell Tools,
                 667 Seville Rd.,   Wadsworth, OH 44281-1077
518340653      +E-mail/Text: bankruptcy.notices@hdfsi.com Jul 09 2019 01:31:19       Harley Davidson,
                 P.O. Box 22048,   Carson City, NV 89721-2048
518340656      +E-mail/PDF: pa_dc_claims@navient.com Jul 09 2019 01:34:49       Navient,   P.O. Box 9640,
                 Wilkes Barre, PA 18773-9640
518340657      +E-mail/Text: bankruptcy@pseg.com Jul 09 2019 01:28:42      PSEG,    PO Box 490,
                 Cranford, NJ 07016-0490
518340658      +E-mail/Text: recovery@paypal.com Jul 09 2019 01:28:33      PayPal,    P.O. Box 45950,
                 Omaha, NE 68145-0950
518338077      +E-mail/PDF: gecsedi@recoverycorp.com Jul 09 2019 01:33:57       Synchrony Bank,
                 c/o of PRA Receivables Management, LLC,    PO Box 41021,    Norfolk, VA 23541-1021
                                                                                               TOTAL: 11

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 10, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 8, 2019 at the address(es) listed below:
              John P. Fazzio   on behalf of Debtor Joseph Bertuglia jfazzio@fazziolaw.com,
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 2
